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 8

 9                              UNITED STATES DISTRICT COURT

10                 EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION

11   In re:                                           Case No. 1:24-cv-01102-KES-SAB

12   THE PRUDENTIAL INSURANCE                         DECLARATION OF PETER SAUER IN
     COMPANY OF AMERICA; AND PGIM                     SUPPORT   OF   THE   EX  PARTE
13   REAL ESTATE FINANCE, LLC                         APPLICATION   FOR   LEAVE   TO
                                                      INTERVENE PURSUANT TO FED. R.
14                         Plaintiff(s).              CIV. PROC. 24 FOR THE LIMITED
     v.                                               OBJECTION TO THE PROPOSED
15                                                    ORDER APPOINTING RECEIVER WITH
     ACDF, LLC; ASSEMI AND SONS, INC.;                LIMITED      AUTHORITY      BY
16   AVILA RANCH EA, LLC; BEAR FLAG                   INTERESTED THIRD PARTY AND
     FARMS, LLC; C & a FARMS, LLC;                    POTENTIAL INTERVENOR KEVIN
17   CANTUA ORCHARDS, LLC; DA REAL                    ASSEMI
     ESTATE HOLDINGS, LLC; FAVIER
18   RANCH, LLC; FG2 HOLDINGS, LLC;                                   [DKT NO. 33]
     GRADON FARMS, LLC; GRANVILLE
19   FARMS, LLC; GRANTLAND HOLDINGS                   Action filed: September 16, 2024
     NO. 1, LLC; GRANTLAND HOLDINGS NO.
20   2, LLC; GRANTOR REAL ESTATE
     INVESTMENTS, LLC; GVM
21   INVESTMENTS, LLC; GV AG, LLC;
     LINCOLN GRANTOR FARMS, LLC;
22   MARICOPA ORCHARDS, LLC; PANOCHE
     PISTACHIOS, LLC; SAGEBERY FARMS,
23   LLC; DEREB BELL; AND RACHEL MARIE
     WHITE,
24
                             Defendants.
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                    Declaration re: Limited Objection to Appointment of Receiver - 1
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 1   COMES NOW PETER SAUER WHO, pursuant to 28 U.S.C. § 1746, attests as follows:

 2          1.      I make this declaration pursuant to this Honorable Court’s Standing Order in Civil

 3   Case, Sec. III Ex Parte Applications.

 4          2.      Regarding the need for the issuance of such an order, the basis and need are

 5   explained in the Declaration of Kevin Assemi also filed herewith.

 6          3.      Regarding the inability of the filer to obtain a stipulation for the issuance of such

 7   an order from other counsel or parties in the action, my office was retained yesterday and I am

 8   still familiarizing myself with the parties and facts to this case. As to those parties I know to be

 9   represented, I received auto responses to emails I sent to counsel for the Plaintiff, and the co-

10   defendants have previously indicated a refusal to cooperate with my client. As for the Plaintiffs

11   and other intervening parties, I have receive out of office responses to those emails.

12          4.      Regarding why such request cannot be noticed on the Court’s civil law and

13   motion calendar as provided by Local Rule 230, the hearing on this matter is set for early next

14   week, which will fall before the next available hearing calendar.

15          I declare under penalty of perjury under the laws of the United States of America that the

16   foregoing is true and correct. Dated this 25th day of October, 2024, at Fresno, California.

17                                                   /s/ Peter A. Sauer
                                             Peter A. Sauer, attorney for Kevin Assemi,
18                                           Interested Party and Proposed Intervenor

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                    Declaration re: Limited Objection to Appointment of Receiver - 2
